            Case 1:23-cr-00069-CKK Document 14 Filed 03/13/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                     :

       v.                                         : Crim. No. 23-CR-0069 (CKK)

CHRISTINA LEGROS                                  :


                   RESPONSE TO COURT’S MARCH 10, 2023, ORDER

       Undersigned counsel, in response to this Court’s March 10, 2023, Order directing counsel

to submit, by March 14, 2023, a speedy trial waiver indicating whether Defendant Legros

consents to the exclusion of time under the Speedy Trial Act between March 14, 2023 and March

20, 2023, states as follows:

       In his attempt to comply with this Court’s March 10, 2023, Order, undersigned counsel

contacted defendant Legros’s local Michigan counsel to obtain a phone number and email for

Ms. Legros.

       The local Michigan counsel informed undersigned counsel that Ms. Legros is currently in

the hospital. He provided more specific medical information about Ms. Legros, but undersigned

counsel will not reveal that information in a public filing. Suffice it to say that Ms. Legros will

not be able to sign any forms for the foreseeable future, or even speak with undersigned counsel.

       Counsel will be happy to file regular status reports on any schedule the Court imposes

(weekly, bi-weekly, etc…), but it is physically impossible for counsel to comply with the Court’s

March 10, 2023, Order at this time due to Ms. Legros’s health.




                                                      Respectfully submitted,
         Case 1:23-cr-00069-CKK Document 14 Filed 03/13/23 Page 2 of 2




                                                       /s/

                                                Stephen F. Brennwald, Esq.
                                                Bar No. 398319
                                                Brennwald & Robertson, LLP
                                                922 Pennsylvania Avenue, S.E.
                                                Washington, D.C. 20003
                                                (301) 928-7727
                                                (202) 544-7626 (facsimile)
                                                E-mail: sfbrennwald@cs.com


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 13h day of
March, 2023, to all parties of record.


                                                       /s/
                                                ______________________________
                                                Stephen F. Brennwald
